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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

GARY BRICEH MCBAY,
. Plaintiff,

VERSUS CIVIL ACTION NO: 1:07CV1205-LG-RHW

HARRISON COUNTY, MISSISSIPPI,
BY AND THROUGH ITS BOARD OF
SUPERVISORS; HARRISON COUNTY
SHERIFF GHORGE PAYNE; WAYNE
PAYNE; DIANE GASTON RILEY;
STEVE CAMPBELL; RICK GASTON;
RYAN TEEL; MORGAN THOMPSON;
JOHN DOES 1 - 4; AMERICAN
CORRECTIONAL ASSOCIATION;
JAMES A. GONDLES, JR.; UNKNOWN
DEFENDANTS 1 - 3 EMPLOYEES OF
AMERICAN CORRECTIONAL
ASSOCIATION; HEALTH ASSURANCE,
LLC, AND UNKNOWN DEFENDANTS 1
~ 2 EMPLOYEES OF AMERICAN
CORRECTIONAL ASSOCIATION,
Defendants.

DEPOSITION OF THOMAS RANDAZZO

Taken at the offices of Dukes, Dukes,
Keating & Faneca, 2909 13th Street,
Sixth Floor, Gulfport, Mississippi, on
Thursday, July 9, 2009, beginning at
9:32 a.m.

SIMPSON BURDINE & MIGUES (228) 388-3130 EXHIBIT
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1 IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
2 SOUTHERN DIVISION
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4 GARY BRICE MCBAY,
Plaintiff,
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6 VERSUS CIVIL ACTION NO: 1:07CV1205-LG—-RHW
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8 BY AND THROUGH ITS BOARD OF
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9 SHERIFF GEORGE PAYNE; WAYNE
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CORRECTIONAL ASSOCIATION;
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DEFENDANTS 1 - 3 EMPLOYEES OF
13 AMERICAN CORRECTIONAL
ASSOCIATION; HEALTH ASSURANCE,
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understand the question; is that fair enough?

A, Yes, sir.

Q. And sometimes folks will make an
objection or something. If they do, if you'll
just pause a moment so that we can deal with that,
if they object to the form of the question or the
responsiveness of your answer.

And I'll try not to talk on top of you
if you'll let me finish my question, even if you
anticipate what it's going to be, so that the
court reporter here doesn't have to try to take
down two people talking at one time, okay?

A. Okay.

Q. We're here about an incident that
happened November 6th, 2005 at the Choppers Lounge
in Guifport. What was your involvement? Were you
there the night of November 6th, 2005?

A. Yes. We had been in the bar playing
pool in a pool tournament. The gentleman in
question had been asked to leave. Visibly

intoxicated.

Q. Who asked him to leave?
A. The bartenders. They had cut him off,
asked him -- you know, you need to go sleep, get a

ride home, whatever.

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A. Well, I ran their pool. tournaments on
weekends, Friday, Saturday and Sundays.
Unofficial bouncer. Whenever trouble would pop up
in the bar, myself or the owner, one of us, would
try to calm it down, you know, get control of the
incident.

The night in question, he was asked to

leave. I watched him walk outside. He's bumping

into cars. I mean, he's really intoxicated.
QO. Did you speak with him before --
Aso Not- before he went out the door. I

followed him out, tried to call him, hey, let us

call you a cab or sleep in your truck. He just

‘kept walking, got in his truck.

Q. Was this a parking lot outside the bar?

A. Yes, sir. Tt was attached to the bar
itself. I mean, it's only maybe 30 foot out to
the road itself.

QO. What road is that?

A. I can't remember the name of it.
Q. Is it a paved road?

A, Yes, sir.

Q. Okay.

A.

He. climbed in his truck, which was quite

high off the ground, the bottom of it was. The

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door still open. I talked to him, said, look,

give me your keys, sleep in your truck, get the
keys in the morning, you don't need to be on the
road driving. He was realiy drunk. He continued
to argue with me. I said, look, let us call you a
cab, sleep in your truck or something, don't
drive. I said, I don't want to call the police on
you. Well, at that time, he swung at me.

Q. Did he hit you?

A. Glancing. I mean, it was a glancing

blow. So I. pulled him out of his truck.

Q. How did you do that?

A. Grabbed him by his shirt and pulled.

Q. Did you pull him all the way out?

A. Yes, sir.

QO. Where did he go?

A. He landed on the ground right next to --
in front of me, actually. I picked him up. I

said, look, I don't want to call the police, sleep.

in your truck or get a cab, you don't need to be

driving.
Q. What happened next?
A He swung at me again.
Q. Did he hit you that time?
A Yes, sir, he did. He caught me in the

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jaw that time.

Q. What did you do?

A. I hit him back. He went to the ground.
I picked him up, walked him over to the building.

QO. Was he able to walk?

A. He was able to walk, staggering, but he
was able to.

Q. When you said you pulled him out of the
truck to the ground, what kind of ground are we
talking about, grass, gravel, pavement?

A. Actually it's a mixture of grass, sand,
gravel. Once I got him to the wall, my then
girlfriend, which is now my wife, walked outside.
I told her, call the sheriff's department. He
commenced to swing at me again.

Q. Did he hit you?

A No. I put him to the ground.

Q. How did you do that?
A

I grabbed the back of him and put him

down.

Q. Face down?

A. Yes, sir.

Q. What was the ground like where that
happened?

A. About the same material, grass, sand,

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1 gravel.

2 Q. Parking lot?

3. A, Yes, sir, still in the parking lot.

4 once he was on the ground, I sat on him, put his

5 hands behind his back and held him there.

6 Q. Was he face down?

7 A. Yes, sir.

8 Q. Okay. Was he talking to you at the

3 time?
10 A. He was cussing me. I just sat there and
11 waited till the police showed up. And when the
12 officers came around the corner, I started to get
13 up. They told me, no, they want to get him in
14 handcuffs before I get off of him.
15 Once they put the cuffs on him, I stood
16 up. They asked me to go speak with the other
17 officer, which I did, and gave him my statement of
18 what had happened.
19 QO. What did you tell the officer?
20 A. That he was too drunk to drive. We
21 asked him to sleep in his car, taxi, you know,
22 options for him not to be driving. He refused.
23 He swung at me. I put him to the ground. Then I
24 brought him over here, and that's when we had, you
25 know, someone call y'all.

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he quit.
Q. Tell us how he tried to.
A. Just wiggling, trying to get away from

me, trying to get his hands unloose from my hands.
Q. When you say hands unloose from your
hands, were his hands on his stomach, were they
behind his back?
A. I had them behind his back and gripped

as if he were in cuffs.

Q. Another question I have: On this
incident report -- actually the arrest report, and
I'm going to show you -- I'm just going to point

to you and read it right here. It says, McBay had

a bloody nose. Can you see it right there?

A. Yes, sir.

Q. Okay. You talked to the officers after
this happened, right?

A. Yes, sir.

Q. Was your memory at that time fresh as
far as the things that happened that evening when

you talked to the officers?

A. Oh, yes.

Q. Okay. It says that McBay had a bloody
nose. Did he have a bloody nose before the police
got there?

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1 A. Yes.
2 Q. Okay. How did he get the bloody nose?
3 A. Possibly caused by myself.
4 Q. When you say possibly by yourself, did
5 you see him get in a fight with anybody else in
6 the bar?
7 A. No, sir. It could have been when I put
8 him on the ground.
9 Q. When you first saw Mr. McBay in the
10 parking lot, did he have a bloody nose at that
11 time?
12 A, No.
13 MR. BRENDEL:
14 That's all I have.
15 EXAMINATION
16 BY MR. WATTS:
17 | Q. Mr. Randazzo, Exhibit 3, again, just
18 look at it. And if you can read starting with
19 Deputy Allen observed, just read that sentence.
20 A. Deputy Allen observed Mr. Randazzo
21 sitting on top of Mr. McBay and noticed that Mr.
22 McBay had a bloody nose. AMR responded, and Mr.
23 McBay refused.
24 Q. And earlier you said that you can't
25 remember whether or not he had a bloody nose, but

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